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 Attorney for Defendants

                               THE UNITED STATES DISTRICT COURT
                                       DISTRICT OF UTAH

  RUSSELL GREER,                                          JOSHUA MOON’S
                                                          SECOND REQUEST FOR
                                                          PRODUCTION OF DOCUMENTS
             Plaintiff,
  v.                                                      Case No. 2:24-cv-00421-DBB


  JOSHUA MOON, et al.                                     District Judge David Barlow
                                                          Magistrate Judge Jared C. Bennett
             Defendant.


 TO:                Russell Greer, Plaintiff

 FROM:              Joshua Moon, Defendant

         Pursuant to Fed R. Civ. P. 34, Defendant Joshua Moon, through his undersigned counsel,

 requests that the following documents and/or tangible things be produced by Plaintiff for

 inspection and copying by undersigned counsel at the Hardin Law Office, 101 Rainbow Drive

 #11506, Livingston, TX 77399. Alternatively, compliance with this Request may be accomplished

 by mailing or emailing a copy of the documents and/or tangible things to the address indicated

 within thirty (30) days. Documents are requested in either paper format or in PDF format, in their

 entirety.

         When responding to these requests, please be mindful of and comply with the below

 instructions and definitions.
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                                         INSTRUCTIONS

        You are instructed to produce the originals of the following documents in the manner

 described above within thirty days after service of this request in accord with Fed. R. Civ. P. 34.

 Additionally, to the extent practicable and consistent with Fed. R. Civ. P. 34, we request that you

 comply with the following instructions:

        A. Please identify the source of each of the documents you produce and label them to

 correspond to the categories in this request.

        B. If there are documents not currently in your possession, but which you can obtain

 from any of your agents or anyone acting on your behalf, to include individuals to whom you have

 previously provided such documents or copies of such documents, any such additional documents

 are included in this request.

        C. If your response to any requests herein is that the documents are not in your

 possession or custody, we request that you describe in detail the unsuccessful efforts you made to

 locate the records.

        D. If your response to any requests herein is that the documents are not in your control,

 We request that you identify who has control and the location of the records, and provide any

 documents you have that contain all or part of the information contained in the requested document

 or category.

        E. If any requested document was, but no longer is in your possession or subject to your

 control, or has been misplaced, destroyed or discarded, or otherwise disposed of, we request that

 you please so state, and for each such document provide:

                (1) Its date;

                (2) The identity of the person(s) who prepared the document;
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                (3) The identity of all persons who participated in preparing the document, to whom

                the document was sent or who have otherwise seen the document;

                (4) The length of the document;

                (5) The subject matter of the document;

                (6) If misplaced, the last time and place it was seen and a description of efforts

                made to locate the document;

                (7) If disposed of, the date of and reason for disposal, the manner of disposition

                (e.g., destroyed, transferred to a third party), the reason for disposal, the identity the

                person(s) who authorized disposal and the identity of the person who disposed of

                the document.

        F. If you are declining to produce any document in whole or in part because of a claim of

 privilege, please:

                (a) identify the subject matter, the type (e.g., letter, memorandum), the date,

                and the author of the privileged communication or information, all persons that

                prepared or sent it, and all recipients or addressees;

                (b) identify each person to whom the contents of each such

                communication or item of information have heretofore been disclosed, orally or in

                writing;

                (c) state what privilege is claimed; and

                (d) state the basis upon which the privilege is claimed.

        G. When a document exists as a computer database or spreadsheet file, Defendant requests
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 that the file be copied to a disk, provided via electronic link, or provided as an attachment to an

 email in one of the following formats in descending order of preference: PDF, Microsoft word,

 native format.

        H. When a document exists in a computer disk as a word processing file, Defendant

 requests that the file be copied and provided via electronic link, or provided as an attachment to

 an email in one of the following formats in descending order of preference: PDF, Microsoft word,

 native format.

        I. Defendant’s Requests for Production of Documents are to be considered continuing, and

 supplemental documents must be submitted by Defendant upon discovering or becoming aware of

 additional responsive documents.

        J. If any paragraph of this request is believed to be ambiguous or unduly burdensome,

 please contact the undersigned and an effort will be made to remedy the problem.

        K. If any request calls for the production of any document which are already filed on the

 docket in the U.S. District Court for the District of Utah in the pending case Russell Greer v.

 Joshua Moon et al., Case No. 2:24-cv-421, you need not re-produce such document pursuant to

 this request, and may instead refer undersigned counsel to the appropriate docket entry where such

 document is located in the Court’s file.

                                            DEFINITIONS

        A.        The pronoun “you” refers to Russell Greer, and his agents, representatives, and

 unless privileged, attorneys.

        B.        The term “documents” is intended to be construed in the broadest possible sense

 and includes, but is not limited to, any written, printed, typed, recorded, filmed, punched,

 transcribed, taped or other graphic matter of any kind or nature held or produced or reproduced,
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 whether sent or received, including the original, draft, copies and non-identical copies bearing

 notation or marks not found on the original, and includes, but is not limited to, all the

 correspondence, records, drawings, calculations, memoranda, reports, financial statements,

 telegrams, cables, telex messages, tabulations, studies, analysis, evaluations, projections, work

 appointment books, diaries, lists, comparisons, questionnaires, surveys, charts, graphs, books,

 pamphlets, booklets, articles, magazines, newspapers, microfilms, microfiche, photographs, tapes

 or other recording, punched cards, magnetic tapes, discs, data sales, drums, print-outs, computer

 generated reports and print-outs, other data compilations from which information can be obtained,

 any other documents or tangible things as defined Fed. R. Civ. P. 34, which is in your custody,

 possession and/or control or to which you otherwise have access. Attachments to documents are

 to be considered part of the document to which they are attached.

         C.      A document “relating”, “related”, “related to”, “regarding”, to any given subject

 matter, means the documents that constitute, pertain to or in any way directly or indirectly bear

 upon or deal with that subject matter, including, without limitation, documents concerning the

 preparation of documents.

         D.      If the document request calls for a document which Plaintiff claims to be privileged,

 in lieu of production, state:

                 (1)     the reason for withholding;

                 (2)     the author of the document;

                 (3)     each individual or other person to whom the document indicates the original

                         or copy has been sent;

                 (4)     the date of the document; and

                 (5)     the general subject of the document.
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          E.     The term “person” shall include a natural person, partnership, corporation, joint

 venture, association, or other group however organized.

          F.     The term “court” shall include state, local, and federal courts both in the United

 States and in any other country. It shall also include any forum of dispute resolution, including but

 not limited to arbitration forums, mediation forums.

          E.     The term “pleading” shall include any filing made by any person or party, including

 but not limited to attorneys acting on behalf of such person or party, in a court (as defined above).

 This includes but is not limited to, any motion or memoranda, any judgment or order, any

 correspondence which was exchanged with or otherwise shared with a court employee (whether

 such employee was acting as a clerk, as a judge, or otherwise), and any written material filed ex

 parte.

                                     JOSHUA MOON’S
                             SECOND REQUEST FOR PRODUCTION

          REQUEST NO. 2: Please produce any and all written or electronic documents which

 reflect or memorialize the loss or deletion of any record at issue in this case, or which is relevant

 to this case, or which in any way relates to the factual or legal claims at issue in this case, including

 but not limited to emails, pleadings, items requested in Joshua Moon’s First Request for Production

 of Documents, correspondence, and all other material, along with any documents which reflect

 your efforts to recover such deleted or lost records or your efforts to ensure that such documents

 were not lost or deleted and were preserved from July 1, 2020 to the present.
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                                   Respectfully submitted,


                                   /s/ Matthew D. Hardin
                                   Matthew D. Hardin (pro hac vice)
                                   HARDIN LAW OFFICE
                                   101 Rainbow Drive #11506
                                   Livingston, TX 77399
                                   Telephone: (202) 802-1948
                                   Email: MatthewDHardin@gmail.com

                                   Attorney for Defendants



                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 16th day of January, 2025, the foregoing Defendant

 Joshua Moon’s Second Request for Production of Documents to Plaintiff was served upon the

 following Plaintiff via email, pursuant to his agreement at the scheduling Conference held

 November 18, 2024:

                      Russell Greer
                      via email to: russmark@gmail.com
                      Defendant, pro se



                                          /s/ Matthew D. Hardin
                                          Matthew D. Hardin
